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 Phone (919) 645-1700                                                                                                         Julie Richards
 Fax (919) 645-1750           United States District Court                                                                         Johnston
                            Eastern District of North Carolina                                                                Clerk of Court

                                   Office of the Clerk
                                              PO Box 25670
                                             Raleigh, NC 27611

                                                 May 25,2016

Robert Allensworth
#B14522
251 N IL-37                                     ~ U ~ ~o          ( ;M«rf           tfLctr               r- {-w.;--,t) c \:L(c_~
Ina, IL 62846-2419                                                  G (vr C L.CJ/l-ll •.

        Re: 5:13-cv-607-D and 5:15-cv-156


Dear Mr. Allensworth:

        The court is in receipt of your recent letter in the above-referenced matters.

         In case 5: 13-cv-607, the documents you have requested are 14 pages, which comes to a total of$7 .00,
and in case 5: 15-cv-156, the documents you have requested are 221 pages, which comes to a total of$110.50,
based on the Judicial Conference rate of $0.50/page. Please make your certified check or money order in
the amount of $117.50, payable to Clerk, U. S. District Court an(l"tnail it to the address above, attention:
Shannon Proctor. Please be sure to incJude your name, case number, documents you are requesting,
and the address where you would like the copies sent.                ·~ ·

        If this office can be of further assistance to you, please do not hesitate' to contact us ..


                                                             Sincerely yours,
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                                                             Julie Richard::; Johnston; Cle* ·, _ _ .
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                                                           · Court ·operations Specialist

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